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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

    MICHAELA HENDERSON                                           CIVIL ACTION

    VERSUS                                                         NO. 24-750

    FIVE PROPERTIES LLC AND                                 SECTION “R” (4)
    SUZANNE TONTI


                           ORDER AND REASONS

       Defendants Five Properties, LLC, Suzanne Tonti, and APMT

Management Services, LLC move for summary judgment dismissing plaintiff

Michaela Henderson’s reasonable accommodation claim under the Fair

Housing Act and the Louisiana Equal Housing Opportunity Act.1 Defendants

also move for summary judgment on their breach of contract claims against

plaintiff.2 Plaintiff opposes the motion.3 For the following reasons, the Court

grants defendants’ motions for summary judgment on plaintiff’s reasonable

accommodation claim, and dismisses the remaining state-law claims without

prejudice.




1      R. Docs. 69 & 36.
2      R. Docs. 69.
3      R. Doc. 79 & 38.
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I.     BACKGROUND

       The Court has reviewed the record and determined the facts are as

follows. In July 2022, plaintiff Michaela Henderson applied to lease an

apartment at AlmondTree Apartments in Harahan, Louisiana, which is

owned by Five Properties and managed by Suzanne Tonti and APMT

Management Services, LLC.4 In the application, Henderson stated that she

had a dog named Tydus.5 Henderson entered a lease to live at Almondtree

Apartments through November 30, 2023, and paid a nonrefundable animal

fee of $350.6

       In November 2023, Henderson inquired about moving into another

one of Five Properties’ apartment complexes managed by defendants,

Sunlake Apartments.7 As part of the application, Henderson requested that

the nonrefundable $400 animal fee be waived because of Tydus’s emotional

support animal (“ESA”) status.8 In support of this request, Henderson noted

in her application that Tydus keeps her calm and stable, that he has

documentation, and that she is getting more documentation in December.9




4      R. Doc. 69-6 at 1, 4; R. Doc. 79-2 at 1, 3.
5      R. Doc. 69-6 at 4; R. Doc. 79-2 at 3.
6      R. Doc. 69-6 at 4; R. Doc. 79-2 at 3.
7      R. Doc. 69-6 at 6; R. Doc. 79-2 at 4.
8      R. Doc. 38-3 at 3; R. Doc. 26-2 at 3.
9      R. Doc. 26-8 at 2; T. Doc. 69-6 at 6; R. Doc. 79-2 at 4.
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On December 26, 2023, Henderson submitted a letter from Steph Lee, an

advance practice registered nurse (“APRN”), who stated that Henderson

meets the federal criteria to request a reasonable accommodation of being

accompanied by her ESA.10 Specifically, Lee found that Henderson has a

mental/emotional condition recognized in the Diagnostic and Statistical

Manual of Mental Disorders that caused disability as defined by the

Americans with Disabilities Act, and that Henderson needs to have her ESA

accompany her to provide relief from symptoms from her mental/emotional

disability.11

       Shortly after receiving the letter, Tonti notified Henderson that Tydus

could live with her if she paid the nonrefundable animal fee, but she had not

provided sufficient information to demonstrate she could not enjoy the use

of the apartment without a waiver of the animal fee.12 Tonti noted that the

records Henderson provided indicated that she had sufficient income to pay

the fee.13

       An attorney for Tonti Management sent Henderson a letter on January

4, 2024, communicating Tonti Management’s denial of the $400 animal fee




10     R. Doc. 26-9; R. Doc. 69-6 at 9; R. Doc. 79-2 at 5.
11     R. Doc. 26-9
12     R. Doc. 26-2 at 4; R. Doc. 38-3 at 3.
13     R. Doc. 26-2 at 4; R. Doc. 38-3 at 3.
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waiver.14 He noted that the Lee letter did not provide sufficient reliable

information that Henderson is disabled or that there is a nexus between the

supposed disability and the dog such that the animal is required.15 Further,

he stated that there is no indication that Henderson cannot equally use and

enjoy the apartment without waiver of the fee because her financial

information indicates she has adequate income to pay the $400 fee.16 On

January 9, 2024, Henderson canceled her Sunlake Apartments application.17

On March 25, 2024, Henderson filed suit under the Fair Housing

Amendments Act (“FHAA”), and the Louisiana Equal Housing Opportunity

Act seeking a declaratory judgment, a permanent injunction, and general,

specific, and punitive damages.18      In defendants’ answer, they made a

counterclaim against plaintiff for breach of contract arising out of alleged

unpaid rent and damages caused by plaintiff’s dog.19

       Defendants now move for summary judgment on plaintiff’s reasonable

accommodations claims, asserted under 42 U.S.C. § 3604(f)(3)(b) and La.




14     R. Doc. 26-10.
15     Id.
16     Id.
17     R. Doc. 69-6 at 10; R. Doc. 79-2 at 6.
18     R. Doc. 1 at 5–7.
19     R. Doc. 11 at 9–13
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Rev. Stat. § 51:2606(A)(6)(a)(ii).20       Additionally, defendants move for

summary judgment on their breach of contract claim.21

        The Court considers the motion below.


II.     LEGAL STANDARD

        Summary judgment is warranted when “the movant shows that there

is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also Celotex Corp. v.

Catrett, 477 U.S. 317, 322-23 (1986); Little v. Liquid Air Corp., 37 F.3d 1069,

1075 (5th Cir. 1994) (en banc) (per curiam). “When assessing whether a

dispute to any material fact exists, [the Court] consider[s] all of the evidence

in the record but refrain[s] from making credibility determinations or

weighing the evidence.” Delta & Pine Land Co. v. Nationwide Agribusiness

Ins., 530 F.3d 395, 398-99 (5th Cir. 2008) (citing Reeves v. Sanderson

Plumbing Prods., Inc., 530 U.S. 133, 150 (2000); and Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)). All reasonable

inferences are drawn in favor of the nonmoving party, but “unsupported

allegations or affidavits setting forth ‘ultimate or conclusory facts and

conclusions of law’ are insufficient to either support or defeat a motion for



20      R. Doc. 69.
21      Id.
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summary judgment.” Galindo v. Precision Am. Corp., 754 F.2d 1212, 1216

(5th Cir. 1985) (quoting 10A Charles Alan Wright & Arthur R. Miller, Federal

Practice and Procedure § 2738 (2d ed. 1983)); see also Little, 37 F.3d at 1075

(noting that the moving party’s “burden is not satisfied with ‘some

metaphysical doubt as to the material facts,’ by ‘conclusory allegations,’ by

‘unsubstantiated assertions,’ or by only a ‘scintilla’ of evidence” (citations

omitted)). “No genuine dispute of fact exists if the record taken as a whole

could not lead a rational trier of fact to find for the non-moving party.” EEOC

v. Simbaki, Ltd., 767 F.3d 475, 481 (5th Cir. 2014).

      If the dispositive issue is one on which the moving party will bear the

burden of proof at trial, the moving party must put forth evidence that would

“entitle it to a [judgment as a matter of law] if the evidence went

uncontroverted at trial.” Int’l Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257,

1264-65 (5th Cir. 1991) (quoting Golden Rule Ins. v. Lease, 755 F. Supp. 948,

951 (D. Colo. 1991) (internal quotation marks omitted)). “[T]he nonmoving

party can defeat the motion” by either countering with evidence sufficient to

demonstrate the “existence of a genuine dispute of material fact,” or by

“showing that the moving party’s evidence is so sheer that it may not

persuade the reasonable fact-finder to return a verdict in favor of the moving

party.” Id. at 1265.


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       If the dispositive issue is one on which the nonmoving party will bear

the burden of proof at trial, the moving party may satisfy its burden by

pointing out that the evidence in the record is insufficient with respect to an

essential element of the nonmoving party’s claim. See Celotex, 477 U.S. at

325.    The burden then shifts to the nonmoving party, who must, by

submitting or referring to evidence, set out specific facts showing that a

genuine issue exists. See id. at 324. The nonmovant may not rest upon the

pleadings but must identify specific facts that establish a genuine issue for

resolution. See, e.g., id.; Little, 37 F.3d at 1075 (“Rule 56 ‘mandates the entry

of summary judgment, after adequate time for discovery and upon motion,

against a party who fails to make a showing sufficient to establish the

existence of an element essential to that party’s case, and on which that party

will bear the burden of proof at trial.’” (quoting Celotex, 477 U.S. at 322)).


III. DISCUSSION

   A. Plaintiff’s Claims

       Under the Fair Housing Amendments Act (“FHAA”) and the Louisiana

Equal Housing Opportunity Act (“LEHOA”), it is unlawful “[t]o discriminate

in the sale or rental, or to otherwise make unavailable or deny, a dwelling to

any buyer or renter because of a” disability of “a person residing in or

intending to reside in that dwelling.” 42 U.S.C. § 3604(f)(1)(B); La. Rev. Stat.

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§ 51:2606(A)(6)(a)(ii). In both statutes, discrimination includes “a refusal to

make reasonable accommodations in rules, policies, practices, or services,

when such accommodations may be necessary to afford such person equal

opportunity to use and enjoy a dwelling.” 42 U.S.C. § 3604(f)(3)(B); La. Rev.

Stat. § 51:2606(A)(6)(c)(ii).    When, as here, the applicable LEHOA

provisions mirror those in the FHAA, courts in the Fifth Circuit apply the

same analysis to both claims. See Greater New Orleans Fair Hous. Action

Ctr. v. Kelly, 364 F. Supp.3d 635, 648 n.90 (E.D. La. 2019) (“Because the

language in the relevant sections of the FHA and Louisiana Equal Housing

Opportunity Act are nearly identical, the Court’s analysis of plaintiff’s FHA

claims applies with equal force to its claims under the state statute.”); Pecan

Acres Ltd. P’ship I v. City of Lake Charles, 54 F. App’x 592, *1 (5th Cir. 2002)

(holding that for the same reasons plaintiff failed to prove a violation of the

FHAA, plaintiff also failed to prove a violation of the LEHOA); Edwards v.

St. John Baptist Par., 2010 WL 3720436, at *5 n.2 (E.D. La. Sept. 9, 2010)

(same); Greater New Orleans Fair Hous. Action Ctr. v. Kelly, 2019 WL

9903799, at *2 n.11 (E.D. La. Oct. 23, 2019) (applying the same analysis when

the plaintiff’s “claims under the Louisiana Equal Housing Opportunity Act .

. . has provisions mirroring the Fair Housing Act”); Osborne v. Belton, 2022

WL 3093765, at *6 (W.D. La. Aug. 3, 2022) (same).


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      The plaintiff bears the burden of proving a violation.           Women’s

Elevated Sober Living L.L.C. v. City of Plano, Texas, 86 F.4th 1108, 1112 (5th

Cir. 2023) (citing Elderhaven, Inc. v. City of Lubbock, 98 F.3d 175, 178 (5th

Cir. 1996)). In a failure-to-accommodate claim, a plaintiff must demonstrate

that (1) the residents of the affected dwelling or home suffer from a disability,

(2) they requested an accommodation from the defendant, (3) the requested

accommodation was reasonable, and (4) the requested accommodation was

necessary to afford the residents equal opportunity to use and enjoy the

home. Id. (citing Providence Behav. Health v. Grant Rd. Pub. Util. Dist.,

902 F.3d 448, 459 (5th Cir. 2018)).

      A generally applicable fee, like the one at issue here, is not per se valid

simply because it is generally applicable. “[T]o exempt generally applicable

fee rules from scrutiny under the FHAA would permit landlords to

circumvent the Act’s requirements simply by imposing fees for certain

matters, rather than by imposing flat bans or other types of restrictive rules.”

United States v. California Mobile Home Park Mgmt. Co., 29 F.3d 1413, 1417

(9th Cir. 1994) (“California Mobile Home Park Mgmt. Co. I”). Generally

applicable fees may, but do not automatically, unfairly burden disabled

tenants. Id. (“There are, of course, many types of residential fees that affect

handicapped and non-handicapped residents equally; such fees are clearly


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proper. Fees that merit closer scrutiny are those with unequal impact,

imposed in return for permission to engage in conduct that, under the FHAA,

a landlord is required to permit.”). The inquiry to determine if the generally

applicable fee does so is “highly fact-specific, requiring case-by-case

determination.” Id. at 1418. The analysis also requires the court to balance

the needs of the parties. Oconomowoc Residential Programs v. City of

Milwaukee, 300 F.3d 775, 784 (7th Cir. 2002).

      To prove that an accommodation is necessary, the fourth element,

courts require that the plaintiff prove the requested accommodation makes

the home therapeutically meaningful or financially viable.              Women’s

Elevated Sober Living L.L.C., 86 F.4th at 1112 (citing Bryant Woods Inn v.

Howard County, 124 F.3d 597, 605 (4th Cir. 1997)).                Courts consider

necessity “(1) in light of the statutory provision’s language; (2) in accord with

the purpose of the FHA and ADA, to ameliorate the plaintiff's particular

disability; and (3) in the light of ‘proposed alternatives.’” Id. at 1112 (citing

Vorchheimer v. Philadelphian Owners Ass’n, 903 F.3d 100, 105 (3d Cir.

2018)).   But a preferable accommodation or alternative is not sufficient—it

must be essential. To be therapeutically necessary, an accommodation be

“[i]ndispensable, requisite, essential, needful; that cannot be done without,

or absolutely required.” Id. (citing Vorchheimer, 903 F.3d at 105). The


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accommodation must be so necessary and so closely linked to the individual’s

disability that “without the requested accommodation, the ameliorative

benefit provided [would] be so insignificant that it deprives persons with

disabilities from the opportunity to use and enjoy the dwelling of their choice

as compared to those without disabilities.” Id. “A requested accommodation

is necessary only if the plaintiff shows that without the requested

accommodation, they will receive no ameliorative effect from their disability,

thereby depriving them of the equal opportunity to enjoy the dwelling.” Id.

at 1113.

      Therefore, to succeed on this prong, plaintiff must show that her

requested accommodation, the waiver of the animal fee, is indispensable and

essential to achieve ameliorative effects of her disability. Plaintiff fails to do

so. Plaintiff puts forward no evidence to demonstrate that waiving the fee

would alleviate any effects of her disability. The letter from Lee adequately

establishes that Henderson has a recognized disability and that her pet

provides relief from symptoms from that disability. But her having the

animal is not at issue; defendants allow animals in the apartment. The

indispensable nature of the fee waiver is at issue. The evidence in the record

establishes that a proposed alternative, a payment plan for the animal fee,

would have been effective. Defendants offered twice to establish a payment


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plan so that plaintiff could afford the fee.22 And plaintiff stated that she could

have paid the fee had it been broken out into installments.23 Thus, plaintiff

has not established that a waiver of the fee is necessary to afford her equal

opportunity to use and enjoy the dwelling.

        Regarding the third element, the reasonableness element, the burden

is again on the plaintiff to show that the requested accommodation is

reasonable. See Elderhaven, Inc. v. City of Lubbock, Tex., 98 F.3d 175, 178

(5th Cir. 1996) (holding that a plaintiff, and not a defendant, bears the

burden of proof on the question of reasonableness). When considering the

reasonableness of a generally applicable fee, a court should consider factors

such as “the amount of fees imposed, the relationship between the amount

of fees and the overall housing cost, the proportion of other tenants paying

such fees, the importance of the fees to the landlord’s overall revenues, and

the importance of the fee waiver to the handicapped tenant.” California

Mobile Home Park Mgmt. Co. I, 29 F.3d at 1417; see also United States v.

California Mobile Home Park Mgmt. Co., 107 F.3d 1374, 1381 (9th Cir. 1997)

(“California Mobile Home Park Mgmt. Co. II”) (“Each of the factors we




22      R. Doc. 26-2 at 4; R. Doc. 26-10 at 1.
23      R. Doc. 79-5 at 131.
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discussed [in California Mobile Home Park Mgmt. Co. I] is relevant to the

balancing of interests inherent in any ‘reasonableness’ determination.”).

        The Court finds that plaintiff failed to demonstrate a genuine issue of

material fact on the issue of reasonableness. Turning to the factors outlined

above, the animal fee imposed was a one-time payment of $400.24 The

overall housing cost was $910 a month for a term of fifteen months.25 That

makes the fee a little under three percent of the total cost of housing. Though

plaintiff provided evidence of defendants’ current assets and how much

defendants have collected in security deposits,26 plaintiff did not provide any

information about the importance, or lack thereof, of the animal fee to the

landlord’s overall revenue. Plaintiff provided no evidence on the number of

other tenants paying the fee, and plaintiff submitted no evidence that the fee

has an unequal impact on or was designed to wrongly target handicapped

individuals. Animal fees are relatively typical for leased apartment buildings

in which animals are allowed.

        Additionally, plaintiff failed to establish the importance of the fee

waiver to her. While being able to have an ESA may be a reasonable




24      R. Doc. 26-5 at 1.
25      Id. at 1–2. Rent was $870 a month, and water and gas were $40 a
        month. Id. at 1.
26      R. Doc. 79-1 at 15; R. Doc. 86-1 at 13; R. Doc. 79-11.
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accommodation, see, e.g., Bhogaita v. Altamonte Heights Condo. Ass’n, Inc.,

765 F.3d 1277, 1289 (11th Cir. 2014), permission to have an ESA is not at

issue here, because defendants’ apartment complex allows for plaintiff to

have an animal with a fee. The requested accommodation is the waiver of

the animal fee, and plaintiff must demonstrate the importance of the fee

waiver. While she maintains that she had some financial difficulties, plaintiff

stated that she could have afforded the animal fee.27 Specifically, defendants

offered plaintiff a payment plan, where she did not have to pay the entirety

of the fee all at once. Plaintiff stated that she could have made incremental

payments and been able to afford the fee over time.28

        Based on a fact-specific inquiry of the generally applicable fee at issue

and the highlighted factors, the Court holds that plaintiff also failed to create

a genuine issue of material fact as to the reasonableness of the animal fee

waiver.

        Plaintiff relies on agency interpretations of the FHAA to demonstrate

that the request was necessary and reasonable, but these agency

interpretations do not change the Court’s analysis. Plaintiff relies on the U.S.

Department of Housing and Urban Development’s (“HUD”) Notice on




27      R. Doc. 79-5 at 131.
28      Id. at 131.
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Assessing a Person’s Request to Have an Animal as a Reasonable

Accommodation Under the Fair Housing Act.29 The United States Supreme

Court has clarified that it is the role of the courts, not agencies, to “interpret

constitutional and statutory provisions.”        Loper Bright Enterprises v.

Raimondo, 603 U.S. 369, 392 (2024) (quoting 5 U.S.C. § 706); Van Loon v.

United States Dep’t of the Treasury, 122 F.4th 549, 562 (5th Cir. 2024)

(holding that the Supreme Court overruled Chevron and “eliminated the

‘judicial invention’ of deference to administrative action and rulemaking”).

Therefore, plaintiff’s cited agency interpretation—which was not derived

from formal adjudication or notice-and-comment rulemaking—are “‘entitled

to respect,’ under [Skidmore] only to the extent that [they] have the ‘power

to persuade.’”    Christensen v. Harris Cnty., 529 U.S. 576, 587 (2000)

(quoting Skidmore v. Swift & Co., 323 U.S. 134, 140 (1944)); see Overlook

Mut. Homes, Inc. v. Spencer, 415 F. App'x 617, 621 n.3 (6th Cir. 2011)

(clarifying that the Joint Statement, discussed below, is a policy statement

that warrants Skidmore deference, not an authoritative interpretation of the

statute). As a result, the weight of the agency’s interpretation “depend[s]

upon the thoroughness evident in its consideration, the validity of its

reasoning, its consistency with earlier and later pronouncements, and all



29      R. Doc. 79 at 13–14.
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those factors which give it power to persuade.” Skidmore v. Swift & Co., 323

U.S. 134, 140 (1944).

      HUD’s Notice is unpersuasive. The Notice provides that a housing

provider may not charge a fee or deposit for service animals or other

assistance animals, even though it may do so for other pets in its discretion.

U.S. Dep’t Hous. & Urb. Dev., FHEO Notice: FHEO-2020-01, Assessing a

Person’s Request to Have an Animal as a Reasonable Accommodation Under

the Fair Housing Act 3, 3 n.8, 14 (Jan. 28, 2020) [hereinafter “Notice”]. This

Notice suggests that fees are disfavored in every instance, regardless of how

reasonable or proportional the fee may be or of the circumstances of the

person with a disability. The authorities it cites to in support of this assertion

are unconvincing.       The first cited authority is the HUD and the U.S.

Department of Justice’s (“DOJ”) Joint Statement on Reasonable

Accommodations Under the Fair Housing Act.               This Joint Statement

provides that “[h]ousing providers may not require persons with disabilities

to pay extra fees or deposits as a condition of receiving a reasonable

accommodation,” and it provides two examples of such behavior. U.S. Dep’t

of Hous. & Urb. Dev. & U.S. Dep’t of Just., Joint Statement on the Reasonable

Accommodations Under the Fair Housing Act 9–10 (May 17, 2004)

[hereinafter “Joint Statement”]. Though the Joint Statement was issued


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fourteen years ago and is consistent with the Notice, which factor positively

under the Skidmore analysis, the Joint Statement does not provide thorough

reasoning in its interpretation or offer any explanation or authorities for its

cursory statement regarding the payment of fees. Additionally, HUD stated

that it “does not intend to imply that the Joint Statement is independently

binding statutory or regulatory authority. HUD understands it to be subject

to applicable limitations on the use of guidance.” Notice at 4 n.8. The Joint

Statement is unpersuasive under Skidmore because its consideration is not

thorough, and it presents no reasoning to evaluate. Cf. Vorchheimer v.

Philadelphian Owners Ass’n, 903 F.3d 100, 111 (3d Cir. 2018) (finding the

Joint Statement unpersuasive on a different point, because of its lack of

thorough reasoning).

      The Notice also cites two cases that quote the Joint Statement in their

opinions, in support of the proposition that the Joint Statement is persuasive

to courts: Bhogaita v. Altamonte Heights Condo. Ass’n, 765 F.3d 1277 (11th

Cir. 2014), and Sinisgallo v. Town of Islip Hous. Auth., 865 F. Supp.2d 307

(E.D.N.Y. 2012). Neither of these cases quotes the portions of the Joint

Statement relating to animal fees or even deals with an animal fee. See

Bhogaita, 765 F.3d at 1286, 1287; see also Sinisgallo, 865 F. Supp. 2d at 315,

321, 336, 338. Both are unpersuasive in establishing the point at issue. Just


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because the Joint Statement or Notice may be convincing on other topics

does not make the entire document influential. The final case the Notice cites

in support of its animal fees assertion is Fair Hous. of the Dakotas, Inc. v.

Goldmark Prop. Mgmt., 778 F. Supp.2d 1028 (D. N.D. 2011). This case

referred to the Joint Statement with no discussion of its persuasive authority

and merely restated its brief conclusion. Id. at 1040. The Joint Statement

was not necessary to the matter before that court, which was whether a

landlord must treat those with assistance animals for mental disabilities

(who were charged a fee) the same as those with assistance animals for

physical disabilities (for whom the fee was waived). Id. at 1039, 1032

(emphasis added). Ultimately, the court found that there was an outstanding

“fact[ual] question regarding whether the requested accommodation [was]

necessary to afford equal opportunity to use and enjoy” the apartment. Id.

at 1039. That case is distinguishable from this one because some disabled

individuals were treated differently from others, whereas all individuals are

treated the same here under the generally applicable animal fee.

      Plaintiff cites to another case for her case-in-chief and to demonstrate

that courts regularly cite to the Joint Statement’s guidance related to animal

fees, Intermountain Fair Hous. Council v. CVE Falls Park, L.L.C., No. 2:10-

CV-00346-BLW, 2011 WL 2945824 (D. Idaho July 20, 2011). This case is


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similarly unpersuasive. That court likewise quoted the Joint Statement as if

it were binding, id. at *5, and then improperly cited to Chevron to describe

the deference a court should give to the Joint Statement, id. at *6.

Interpretations like joint statements and notices are given Skidmore

deference. See Christensen, 529 U.S. at 587; see also Bhogaita v. Altamonte

Heights Condo. Ass’n, Inc., 765 F.3d 1277, 1286 (11th Cir. 2014) (noting that

the Joint Statement receives Skidmore deference, not Chevron-style

deference). Additionally, the U.S. Supreme Court overruled Chevron and

“eliminated the ‘judicial invention’ of deference to administrative action and

rulemaking” in Loper Bright v. Raimondo.         Van Loon v. Dep't of the

Treasury, 122 F.4th 549, 562 (5th Cir. 2024). Therefore, the deference

afforded to the Joint Statement in Intermountain Fair Housing Council is

improper to afford today. The Court is not swayed by these two district court

cases, which contain no analysis of the Joint Statement’s claims and no

reasoning or determination as to its power to persuade.

      Therefore, the Notice’s interpretations do not contain the power to

persuade and do not alter the Court’s necessity or reasonableness analysis.

Accommodations related to generally applicable fees must be analyzed in a

“fact-specific, . . . case-by-case determination.” California Mobile Home

Park Mgmt. Co., 29 F.3d at 1418. To be clear, the Court is not holding that


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animal fees can always be enforced against someone with an ESA, or even

that this animal fee can be enforced against every resident. The Court holds

that plaintiff here failed to establish a genuine issue of material fact as to

whether the waiver of the fee was necessary and reasonable.           Because

plaintiff’s claims fail on the necessity and the reasonableness prongs, the

Court grants summary judgment on plaintiff’s reasonable accommodations

claims under the FHA and LEHOA.


   B. Defendants’ Breach of Contract Claims

      Under 28 U.S.C. § 1367(c)(3), when federal-law claims that serve as the

basis of subject matter jurisdiction are dismissed, and only state-law claims

based on supplemental jurisdiction remain, a district court has broad

discretion to decline jurisdiction over the remaining claims. See Brown v.

Sw. Bell Tel. Co., 901 F.2d 1250, 1254 (5th Cir. 1990) (“[W]hen there is a

subsequent narrowing of the issues such that the federal claims are

eliminated and only pendent state claims remain, federal jurisdiction is not

extinguished, [and] the decision as to whether to retain the pendent claims

lies within the sound discretion of the district court.”). In deciding whether

to hear any remaining state-law claims, courts are to “analyze the statutory

and common law factors that are relevant to the question of its jurisdiction

over pendent state law claims.” Enochs v. Lampasas Cnty., 641 F.3d 155,

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158-59 (5th Cir. 2011). The relevant statutory factors are those found in

Section 1367, including “(1) whether the state claims raise novel or complex

issues of state law; (2) whether the state claims substantially predominate

over the federal claims; (3) whether the federal claims have been dismissed;

and (4) whether there are exceptional circumstances or other compelling

reasons for declining jurisdiction.” Id. (citing 28 U.S.C. § 1367(c)). The

common law factors include comity, convenience, fairness, and judicial

economy. See Parker & Parsley Petroleum v. Dresser Ind., 972 F.2d 580,

585 (5th Cir.1992). The “general rule” is for courts to decline to exercise

jurisdiction over remaining state-law claims when all federal claims have

been dismissed prior to trial. Smith v. Amedisys Inc., 298 F.3d 434, 446-47

(5th Cir. 2002).

     As to the first statutory factor, the state-law claims do not raise

unresolved issues of Louisiana law—the primary dispute is an issue of fact.

Therefore, that factor disfavors dismissal. But the other three statutory

factors favor dismissal because no federal claims remain, and there are no

exceptional circumstances here.

     On balance, the common-law factors favor dismissal as well. The

common-law factor of comity “demands that the ‘important interests of

federalism and comity’ be respected by federal courts, which are courts of


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limited jurisdiction and ‘not as well equipped for determinations of state law

as are state courts.’” Enochs, 641 F.3d at 160 (quoting Parker & Parsley

Petroleum Co. v. Dresser Indus., 972 F.2d 580, 587 (5th Cir. 1992)). Given

that only a state-law claim remains in this case, the adjudication of which

would require grappling exclusively with Louisiana law, the factor of comity

weighs in favor of dismissal.

      The convenience factor also favors dismissal. The state court that

would likely hear this matter would be the 24th Judicial District Court in

Jefferson Parish. It is a more convenient forum than the United States

District Court for the Eastern District of Louisiana in Orleans Parish. The

underlying events occurred in Jefferson Parish, and most of the witnesses

are located there. See Enochs, 641 F.3d at 160 (“[I]t is certainly more

convenient for the case to have been heard in the Texas state court . . . where

all of the parties, witnesses, and evidence were located.”). Accordingly, the

convenience factor favors declining jurisdiction.

      As to fairness, the Court can identify no reason why a state court would

be unlikely to fairly resolve the remaining claim. And, although trial is

scheduled for October, courts routinely remand cases nearer to the trial date

when all federal claims have been dismissed. See, e.g., Total Ben. Servs., Inc.




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v. Grp. Ins. Admin., Inc., 875 F. Supp. 1228, 1242 (E.D. La. 1995) (dismissing

state law claims when trial was a couple weeks away).

      The judicial economy factor is less straightforward. This case

commenced over a year ago, with defendants filing the counterclaim in June

2024. Requiring defendants to re-file their claim in state court when trial is

scheduled in a few months is certainly a hardship. But by the same token,

only minimal adjudication of this matter has occurred. This is the first time

the Court considered case-dispositive motions, and the Court has not yet

considered the merits of defendants’ state-law claim, which can be readily

handled by a state court. On balance, the Court finds that this factor is

neutral.

      Three of the four statutory factors weigh in favor of declining to

exercise pendent jurisdiction, and, on balance, the common-law factors favor

declining jurisdiction. The Court thus finds no reason to depart from the

“general rule” that federal courts should decline to exercise jurisdiction over

the remaining state-law claim when all federal claims have been dismissed

prior to trial. Smith, 298 F.3d at 446–47; cf. Newport Ltd. v. Sears, Roebuck

& Co., 941 F.2d 302, 307–08 (5th Cir. 1991) (holding that a district court

abused its discretion after it dismissed a case on the eve of trial after it had

been litigated for four years, consuming hundreds of court hours and


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producing twenty-three volumes and thousands of pages of record consisting

of over 100 depositions, 200,000 pages of discovery, and a pretrial order

exceeding 200 pages).     The Court dismisses defendants’ state-law claims

without prejudice.


IV.   CONCLUSION

      For the foregoing reasons, the Court GRANTS defendants’ motions for

summary judgment on plaintiff’s Fair Housing Act and the Louisiana Equal

Housing Opportunity Act claims and DISMISSES WITH PREJUDICE

plaintiff’s 42 U.S.C. § 3604(f)(3)(B) and La. Rev. Stat. § 51:2606(A)(6)(a)(ii)

claims. The Court DISMISSES WITHOUT PREJUDICE defendants’ state-

law claims.



          New Orleans, Louisiana, this _____
                                        16th day of July, 2025.



                       _____________________
                            SARAH S. VANCE
                     UNITED STATES DISTRICT JUDGE




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